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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                              Case No. 21-20761-CIV-DAMIAN

 SIMON LIANSKI,

        Plaintiff,

 vs.

 LAS MERCEDES RESTAURANT, INC.,
 and FABIAN GALLEGO,

       Defendants.
 _______________________________________/

        ORDER ON PLAINTIFF’S MOTION FOR ORDER TO SHOW CAUSE

        THIS CAUSE is before the Court on Plaintiff’s Motion for Sanctions [ECF No. 49]

 and Motion for Order to Show Cause why Defendants and non-party, Las Mercedes Grill,

 LLC, should not be held in contempt for failure to comply with this Court’s February 2, 2022

 Order [ECF No. 55] (the “Motions”).1

        THIS COURT has reviewed the Motions and Responses thereto and heard from the

 parties, through counsel, at Zoom hearings held February 1, 2022 and February 16, 2022, and

 being otherwise fully advised in the premises, it is hereby

        ORDERED and ADJUDGED that for the reasons stated on the record and further

 summarized herein, Plaintiff’s Motions are GRANTED IN PART as set forth below.

                          RELEVANT PROCEEDINGS TO DATE

        In the underlying lawsuit, filed February 24, 2021, Plaintiff sought damages pursuant

 to the Fair Labor Standards Act, the Florida Minimum Wage Act, and Florida Statutes


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  This matter is referred to the undersigned pursuant to the parties’ Joint Notice and Consent
 to Jurisdiction of U.S. Magistrate Judge [ECF No. 53] and Order Referring Case to
 Magistrate Judge [ECF No. 54].
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 Section 68.085, based on Plaintiff’s former employment with Defendant Las Mercedes

 Restaurant, Inc. (“LMR”) [ECF No. 1]. According to the Complaint, Defendant Fabian

 Gallego was the owner of LMR at the time the Complaint was filed.

        On July 7, 2021, the parties reached a settlement pursuant to which Defendants agreed

 to pay monetary damages to Plaintiff. However, shortly after the settlement was reached,

 Defendant Gallego sold LMR, and Defendants’ counsel informed Plaintiff that Defendants

 were unable to pay any amounts owed pursuant to the settlement agreement. Thereafter, on

 August 12, 2021, Plaintiff filed a motion to re-open the case and enforce the settlement [ECF

 No. 29], and, on September 8, 2021, this Court, through predecessor Chief Magistrate Judge

 John O’Sullivan, granted Plaintiff’s Motion to Re-Open Case [ECF No. 34] and entered

 judgment in favor of Plaintiff in the amount of $30,663.60 [ECF No. 35].

        On November 24, 2021, the Court entered an Order granting in part Plaintiff’s Motion

 to commence proceedings supplementary [ECF No. 44], and on December 15, 2021, ordered

 Defendants to complete and serve fact information sheets no later than January 14, 2022, and

 to produce the corporate representative of non-party Las Mercedes Grill, LLC (“LMG”), the

 entity that purchased LMR, for deposition [ECF No. 46].

        On February 1, 2022, Plaintiff filed a Motion to Compel Discovery in Aid of

 Execution and Motion for Sanctions (the “Motion to Compel”) and alleged Defendants had

 failed to comply with the Court’s December 15, 2021, Order by failing to provide fact

 information sheets and by failing to provide documents requested with the subpoena for

 deposition of the corporate representative of non-party LMG. [ECF No. 49]. This Court held

 a hearing on the Motion to Compel on February 1, 2022, following which the Court granted

 in part the Motion to Compel and ordered Defendants to produce completed fact information

 sheets by February 4, 2022, and to produce all outstanding documents from the corporate
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 representative of LMG pursuant to the non-party subpoena and provide dates for the

 continued deposition of the corporate representative of LMG by February 8, 2022. [ECF No.

 52]. In that Order, the Court also ruled that Plaintiff’s Motion for Sanctions would be taken

 under advisement. Id.

        On February 8, 2022, Plaintiff filed a Notice of Non-Compliance and Motion for

 Order to Show Cause why Defendants and non-party LMG should not be held in contempt

 for failure to comply with this Court’s February 2, 2022, Order (the “Show Cause Motion”).

 [ECF No. 55]. In the Show Cause Motion, Plaintiff alleged Defendants and non-party LMG

 had failed to comply with this Court’s Order by failing to provide complete fact information

 sheets, failing to provide all outstanding documents from the corporate representative of

 LMG, and failing to make the corporate representative available for deposition as ordered.

 Id. Defendants and non-party LMG responded to the Show Cause Motion on February 14,

 2022. [ECF No. 57].

        This Court held a hearing on the Show Cause Motion on February 16, 2022, and based

 on the representations of counsel, found that Defendants and non-party LMG had not timely

 complied with the Court’s Order to provide discovery. Counsel for Defendants and non-party

 LMG represented that documents had been produced the evening before the hearing that,

 according to counsel, would satisfy obligations regarding document requests to the LMG

 corporate representative, but Plaintiff’s counsel had not yet had the opportunity to review the

 production. At the conclusion of the hearing, the Court ordered the corporate representative

 for non-party LMG, Carlos Andrade, to appear for deposition on February 24, 2022, at 2:00

 P.M. (EST) via Zoom. The Court also considered Plaintiff’s request for fees pursuant to

 Federal Rule of Civil Procedure 37.


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        Rule 37 authorizes a court to impose sanctions against a party “who fails to obey an

 order to provide or permit discovery.” Fed. R. Civ. P. 37(b)(2). The court has broad discretion

 to fashion appropriate sanctions for the violation of its discovery orders. See, e.g., Malautea v.

 Suzuki Motor Co., 987 F.2d 1536, 1542 (11th Cir. 1993). As explained on the record, the Court

 finds that Defendants and non-party LMG failed to obey the Court’s order to provide or

 permit discovery. Accordingly, the Court ordered that Defendants and non-party LMG shall

 pay the reasonable expenses, including attorney’s fees, incurred by Plaintiff (1) for filing the

 Motion to Compel [ECF No. 49] and the Show Cause Motion [ECF No. 55], (2) in

 preparation for the hearings held before the undersigned on February 1, 2022 and February

 16, 2022, and (3) for any other reasonable efforts undertaken to obtain information necessary

 to collect on the outstanding money judgment in this proceedings supplementary.

        Finally, the Court admonished Defendants and non-party LMG that failure to comply

 with the Court’s Order would result in sanctions, including a finding of contempt.

                                             ORDER

        Accordingly, for the reasons set forth on the record on February 16, 2022, and herein,

 it is hereby

        ORDERED and ADJUDGED that Plaintiff’s Motion to Compel [ECF No. 49] and

 Motion for Order to Show Cause [ECF No. 55] are GRANTED IN PART as follows:

    1. The corporate representative for non-party LMG, Carlos Andrade, shall appear for

        deposition on February 24, 2022, at 2:00 P.M. (EST) via Zoom.

    2. Defendants and non-party LMG shall pay Plaintiff’s reasonable expenses incurred in

        connection with the Motion to Compel and the Motion for Order to Show Cause as

        set forth on the record and above.


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    3. Plaintiff shall provide an itemization of fees and costs consistent with the Court’s

         rulings to Defendant in an effort to agree to a reasonable fee and costs award. If the

         parties are able to agree on an amount, Plaintiff shall file an unopposed request for

         entry of a fee award, and, if the parties are unable to agree, Plaintiff shall file a request

         for entry of a fees award, and Defendants and non-party LMG shall respond in

         accordance with Local Rule 7.1.

    4. Within thirty (30) days from the date of the Order approving Plaintiff’s fees and costs

         award, Defendants and non-party LMG shall pay said amount, with all jointly and

         severally liable for the full amount of the fees and costs award.

    5. Any subsequent failure to comply with this Order will subject the disobedient party or

         parties to further sanctions as allowed by the rules, including a finding of contempt of

         court.

    6. This Order is without prejudice to Plaintiff to bring to the Court’s attention any

         material non-compliance by non-party LMG insofar as the documents produced on

         February 15, 2022, are concerned as provided in the Local and Federal Rules and this

         Court’s Discovery Procedures.

         DONE and ORDERED in Chambers at Miami, Florida, this 17th day of February

 2022.

                                       _______________________________________
                                       MELISSA DAMIAN
                                       UNITED STATES MAGISTRATE JUDGE


 cc: Counsel of Record




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